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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                                CRIMINAL ACTION NO 3:12-CR-58-2
                                                    (JUDGE GROH)

  SABRINA DEHAVEN,

                Defendant.


                ORDER DENYING MOTION FOR SENTENCE REDUCTION

         Currently pending before the Court is a Motion for Sentence Reduction filed by the

  pro se Defendant on February 3, 2014 [Doc. 342]. In this case, the Defendant pled guilty

  to one count of possession with intent to distribute cocaine hydrochloride in violation of 21

   U.S.C. § 841(a)(1) and (b)(1)(C). On March 18, 2013, the Court sentenced herto a thirty-

  seven term of imprisonment, to be followed by three years of supervised release.

         18 U.S.C.    § 3582(c) provides a district court with authority, under certain
  circumstances, to reduce a sentence already imposed:

         (c)    Modification of an imposed term of imprisonment. The court may not
                modify a term of imprisonment once it has been imposed except
                that—

                (1)      inanycase—
                         (A)  the court, upon motion of the Director of the Bureau of
                               Prisons, may reduce the term of imprisonment. after
                                                                                 .   .



                              considering the factors set forth in section 3553(a). if   .   .



                               it finds that—

                               (i)    extraordinary and compelling reasons warrant
                                      such a reduction; or
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                                 (ii)   the defendant is at least 70 years of age, has
                                        served at least 30 years in prison, pursuant to a
                                        sentence imposed under section 3559(c), for the
                                        offense or offenses for which the defendant is
                                        currently imprisoned, and a determination has
                                        been made by the Director of the Bureau of
                                        Prisons that the defendant is not a danger to the
                                        safety of any other person or the community, as
                                        provided under section 31 42(g); and that such a
                                        reduction is consistent with applicable policy
                                        statements issued by the Sentencing
                                        Commission; and

                          (B)    the court may modify an imposed term of imprisonment
                                 to the extent otherwise expressly permitted by statute or
                                 by Rule 35 of the Federal Rules of Criminal Procedure
                                                                             ;
                                                                             1
                                 and

                    (2)   in the case of a defendant who has been sentenced to a term
                          of imprisonment based on a sentencing range that has
                          subsequently been lowered by the Sentencing Commission
                          pursuant to 28 U.S.C. § 994(o), upon motion of the defendant
                          or the Director of the Bureau of Prisons, or on its own motion,
                          the court may reduce the term of imprisonment, after
                          considering the factors set forth in section 3553(a) to the
                          extent that they are applicable, if such a reduction is consistent
                          with applicable policy statements issued by the Sentencing
                          Commission.

             In her motion, the Defendant requests that the Court reduce her sentence by six to

      twelve months. She avers that her Counsel requested a sentence of twenty-four months’

      imprisonment. The Government, she alleges, objected to this request on the basis that a

      thirty-one month term of imprisonment was needed for her to participate in the Residential

      Drug Abuse Program (“RDAP”) and that completion of RDAP would reduce her sentence

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   Under Rule 35, a court may reduce a sentence in only two circumstances: (1) to correct,
 within fourteen days after sentencing, a clear error in arithmetic; or (2) upon the government’s
 motion made within one year of sentencing, if the defendant provided substantial assistance
 in investigating or prosecuting another person. FED. R. CRIM. P. 35(a)-(b). Neither of these
 grounds applies in this case.
                                                 2
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  to approximately seventeen months. The Defendant states that she is participating in

  RDAP and expects to complete it in March 2014. However, she avers that a past conviction

  will prevent her from receiving a sentence reduction based on her completion of RDAP.

  She accordingly requests that the Court reduce her sentence.

         The Court commends the Defendant for participating in RDAP and all of the other

  progress that she has made. However, the Court has no authority to modify her sentence

  on the basis asserted, for two reasons.

         First, most statutory authority for sentence reductions requires either the Bureau

  of Prisons or the Government to file a motion. See 18 U.S.C. § 3582(c)(1)(A)-(B).

  Here, the Defendant has filed the instant motion.

         Second, a § 3582(c)(2) reduction, the only remaining basis, does not apply to the

  Defendant. Pursuant to § 3582(c)(2), a court may reduce a term of imprisonment that

  was imposed using a sentencing range that the Sentencing Commission has

  subsequently lowered pursuant to 28 U.S.C. § 994(o). Here, the Defendant was

  sentenced pursuant to § 2D1 .1 of the Sentencing Guidelines. At the time of

   Defendant’s sentencing, and presently, § 2D1.1(c)(10) sets a base offense level of 20

  for an offense involving at least 40 kilograms, but less than 60 kilograms, of marijuana

   (or marijuana equivalency) for defendants convicted under 21 U.S.C. § 841 (a)(1) and

   2 Compare U.S.S.G. § 2D1.1(c)(10) (2012), with U.S.S.G. § 2D1.1(c)(10)
   (b)(1)(C).

   2
    Under U.S.S.G. § 2D1 .1(a)(5), the base offense level is the “offense level specified in
  the Drug Quantity Table set forth in subsection (c).” The parties stipulated that the
  Defendant’s total drug relevant conduct was 9.33 grams of cocaine base, 91.18 grams
  of cocaine hydrochloride, and 0.366 gram of heroin. Pursuant to Application Note 8(B)
  to § 2D1 .1, the cocaine base, cocaine hydrochloride, and heroin are converted into
  marijuana equivalencies for purposes of obtaining a single offense level. According to


                                               3
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   (2013). Thus, the Sentencing Commission has not lowered the Defendant’s sentencing

   range.

            For the foregoing reasons, the Court DENIES the Defendant’s Motion for

   Sentence Reduction.

            It is so ORDERED.

            The Clerk is directed to transmit copies of this Order to all counsel of record

   and/or pro se parties.

            DATED: February 6, 2014.



                                                     GINA .GROH
                                                     UNITED STATES DISTRICT JUDGE




   Application Note 8(D), 1 gram of cocaine base is equivalent to 3,751 grams of
   marijuana. Thus, 9.33 grams of cocaine base is equivalent to 33.317 kilograms of
   marijuana. 1 gram of cocaine hydrochloride is equivalent to 200 grams of marijuana.
   Thus, 91.18 grams of cocaine hydrochloride is equivalent is 18.236 kilograms of
   marijuana. 1 gram of heroin is equivalent to 1 kilogram of marijuana. Thus, 0.366 gram
   of heroin is equivalent to 0.366 kilogram of marijuana. The total marijuana equivalency
   in the Defendant’s case therefore was 51.919 kilograms of marijuana, constituting a
   base offense level of 24 pursuant to § 2D1.1(c)(10).
